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IN THE DISTRICT CoURT oF TULSA CoUNT'_PISE'RIi-T CEURB

STATE OF OKLAHOMA
JU -
AUTUMN S. SLoGGETT, an individuai, DON L 7 2017
NEWBERRY Co
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Plaintiff, Case No. CJ-2017- TATE oF OKLA~ TULSA COUN.lr'Yk

;USTIN CRUZ SLOGGETT, a/k/a JUSTIN The @Jb£ 2 0 1 7 _ 0 2 6 8 4

C. SLOGGET, and JOHN DOE, a business
entity, and JANE DOE, an individual

Defendants. DANA L\§'NN KU EHN

PETITION

 

Plaintiff alleges and states as follows:

l. Plaintiff was at all material times a resident of Tulsa County, Oklahoma.

2. Defendant Justin Sloggett (herein “Defendant J.S.”) was at all material times upon §§
information and belief a resident of Tulsa County, Oklahoma. §§

3. Defendant John Doe, a business entity, is a business whose identity is unknown §
now, but may be revealed through the course of discovery. Defendant John Doe is an entity that *T
transacts business/engages in commerce on a regular basis in Oklahoma, and the claims alleged ~.z
here arise out of the Defendant John Doe’s actions and/or inactions in Oklahoma. rs

4. Defendant Jane Doe, an individual, is a person residing in Oklahoma whose identity m
is unknown at this time, but may be revealed through the course of discovery. "`~"

5. This motor vehicle crash occurred in Tulsa County, OK on about 07/11/2015. 3

6. As a direct result of Defendant’s recklessness/gross recklessness, Plaintiff is
entitled to punitive damages in excess of $75,0()0.

7. This Court has jurisdiction over this matter.

8. Defendant J.S. failed to yield.

9. Defendant J.S. failed to pay attention while driving.

l(). Defendant J.S. failed to remain alert while driving.

ll. Defendant J.S. failed to maintain a safe speed while driving.

12. Defendant J.S. caused a rear-end crash.

l3. Plaintiff was injured in the wreck.

l4. Plaintiff was a no fault passenger

15. Plaintiff made no improper action.

l6. Tulsa Police department arrived at the scene of the wreck.

17. Tulsa Police indicated the Defendant’s was driving at an unsafe speed.

18. An ambulance was called to the scene of the wreck.

19. Defendant’s vehicle was towed from the wreck.

20. A driver must yield to traffic with the right of way.

21. A driver must remain alert while driving.

22. A driver must pay attention while driving.

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23. A driver must drive at a safe speed while driving.

24. Defendant J.S. violated a safety rule.

25. Defendant J.S. directly caused injuries and damages to Plaintiff.

26. Defendant J.S. breached duties owed to Plaintiff.

27. Defendants were negligent, negligent per se and/or is liable under res ipsa loquitur

because Defendant violated and/or breached applicable statute(s), law(s), and/or ordinance(s),
which directly caused injury to Plaintiff.

28. Defendants had the responsibility to drive as a reasonably prudent driver on the
date and time of this wreck.

29. Defendants had the responsibility to follow safety rules on the date and time of this
wreck.

30. Defendants violated their responsibilities on the date and time of the wreck.

3l. Defendants were negligent

WHEREFORE, Plaintiff prays for judgment against Defendant in an amount in excess of
$75,000, punitive damages, to deter wrongful conduct, promote safety, pre-judgment interest, post-
judgment interest, attorney’s fees, costs, expenses, any all other relief which this Court deems just
and proper.

ATTORNEY FEE CLAIMED

JURY TRIAL DEMANDED

ATTORNEY LIEN CLAIMED

PRE AND POST-JUDGMENT INTEREST

Respectfully submitted,

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